           Case 2:07-cr-00234-RSL          Document 77        Filed 09/13/07      Page 1 of 2




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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )             Case No. CR07-234 RSL
11         v.                             )
                                          )
12   FRANKIE DUNMORE,                     )             DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14
     Offenses charged:
15
            Count 1: Conspiracy to Distribute Crack Cocaine in violation of 21 U.S.C. §§ 841(a)(1),
16
     841(b)(1)(A) and 846.
17
            Count 5 and 8: Distribution of Crack Cocaine in violation of 21 U.S.C. §§ 841(a)(1) and
18
     841(b)(1)(C) and 18 U.S.C. § 2.
19
            Count 6: Possession of a Firearm in Furtherance of a Drug Trafficking Offense in
20
     violation of 18 U.S.C. §§ 924(c)(1)(A) and 2.
21
            Count 7: Felon in Possession of a Firearm in violation of 18 U.S.C. §§ 922(g)(1) and 2.
22
     Date of Detention Hearing:    September 13, 2007
23
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
24
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
25
     the following:
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
          Case 2:07-cr-00234-RSL          Document 77        Filed 09/13/07      Page 2 of 2




01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
02          (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

03 is a flight risk and a danger to the community based on the nature of the pending charges.

04          (2)    Defendant has stipulated to detention, but reserves the right to contest his

05 continued detention if there is a change in circumstances.

06          (3)    There are no conditions or combination of conditions other than detention that will

07 reasonably assure the appearance of defendant as required or ensure the safety of the community.

08          IT IS THEREFORE ORDERED:

09          (1)    Defendant shall be detained pending trial and committed to the custody of the

10                 Attorney General for confinement in a correctional facility separate, to the extent

11                 practicable, from persons awaiting or serving sentences or being held in custody

12                 pending appeal;

13          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

14                 counsel;

15          (3)    On order of a court of the United States or on request of an attorney for the

16                 government, the person in charge of the corrections facility in which defendant is

17                 confined shall deliver the defendant to a United States Marshal for the purpose of

18                 an appearance in connection with a court proceeding; and

19          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

20                 counsel for the defendant, to the United States Marshal, and to the United States

21                 Pretrial Services Officer.

22                 DATED this 13th day of September, 2007.

23

24
                                                          A
                                                          JAMES P. DONOHUE
25                                                        United States Magistrate Judge

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 2
